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13   *Admission Pro Hac Vice forthcoming
14
                                   UNITED STATES DISTRICT COURT
15
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
17                                       SAN JOSE DIVISION

18     NATIONAL ASSOCIATION FOR GUN                   Case No. 5:22-cv-00501-BLF
       RIGHTS, INC., a non-profit corporation, and
19     MARK SIKES, an individual,                     NOTICE OF MOTION AND UNOPPOSED
20                                                    MOTION TO SHORTEN TIME UNDER
                     Plaintiffs,
                                                      CIVIL L.R. 6-3; MEMORANDUM OF
21                   v.                               POINTS AND AUTHORITIES IN
                                                      SUPPORT
22
       CITY OF SAN JOSE, a public entity,                             th
23     JENNIFER MAGUIRE, in her official capacity Courtroom: 3-5 Floor
       as City Manager of the City of San Jose, and the Judge: Honorable Beth Labson Freeman
24
       CITY OF SAN JOSE CITY COUNCIL,
                                                        Complaint Filed: January 25, 2022
25
26                   Defendants.

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     Plaintiff’s Unopposed Motion to Shorten Time                            5:22-cv-00501-BLF
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1           TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
2    PLEASE TAKE NOTICE that plaintiffs National Association for Gun Rights, Inc. (“NAGR”) and
3    Mark Sikes (collectively, “Plaintiffs”) hereby move the Court pursuant to N.D. Cal. Civil L.R. 6-1(b)
4    and 6-3 to change the hearing date on Plaintiffs’ Motion for Preliminary Injunction (“Motion”) (ECF
5    No. 25)—currently set for July 21, 2022, at 9:00 A.M—to the Court’s earliest convenience.
6           This Unopposed Motion is based on this Notice of Motion, the accompanying Memorandum
7    of Points and Authorities, the attached Declaration of Michael Columbo in Support of Motion to
8    Shorten Time under Civil L.R. 6-3, any papers filed in reply, such oral and documentary evidence as
9    may be presented at a hearing, if any, and all papers and records on file in this action.
10          Therefore, pursuant to Civil L.R. 6-3, Plaintiffs move for an order shortening the time so that
11   the hearing date on the Motion is advanced to the earliest date on which the Court is available.
12          Under Civil L.R. 6-1(b), this motion is timely because it is “filed no later than 14 days before
13   the scheduled event,” that is, the July 21, 2022 hearing.
14
15   Dated: March 25, 2022                                   By: _/s/ Harmeet K. Dhillon_________
                                                             Harmeet K. Dhillon
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                                                             Michael A. Columbo
17                                                           Mark P. Meuser
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                                                             David A. Warrington (pro hac vice pending)
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25                                                           *Admission pro hac vice forthcoming

26                                                           Attorneys for Plaintiffs
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     Plaintiff’s Unopposed Motion to Shorten Time                                          5:22-cv-00501-BLF
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1                           MEMORANDUM OF POINTS AND AUTHORITIES
2                                               INTRODUCTION
3           On March 8, 2022, Plaintiffs filed a Motion for Preliminary Injunction to bar the City of San
4    Jose from enforcing Ordinance § 10.32.200 et seq., (“Ordinance”) which was adopted on February 8,
5    2022 and will take effect on August 8, 2022. Responses are due on March 22, 2022, replies are due on
6    March 29, 2022, and the hearing for the Motion is on July 21, 2022.
7           Plaintiffs’ Motion is based on the position that the Ordinance is unconstitutional under federal,
8    state, and local laws. Plaintiffs therefore request that the hearing for the Motion be set as soon as
9    possible after the March 29, 2022 end date for briefing because the July 21, 2022 Motion hearing is
10   only three weeks before the August 8, 2022 effective date of the Ordinance. Such a short time frame
11   creates the risk that the Ordinance will come into effect before the court reaches a decision on the
12   Motion, incurring substantial costs on plaintiff Mr. Mark Sikes and other gun-owning citizens of San
13   Jose, including financial costs and potentially the loss of their ability to defend themselves, their
14   families, and their homes while the Court considers whether the Ordinance is lawful. Specifically, the
15   Ordinance mandates each San Jose gunowner to procure gun liability insurance and submit a fee to a
16   private, third party for purposes of gun harm reduction. A quick resolution of this controversy would
17   resolve such a concern.
18          Defendants, through counsel, stated that they have an interest in a prompt resolution of this
19   matter and therefore do not oppose this motin.
20          I.      The Nature of the Dispute.
21          Pursuant to Local Rule 6-3(a)(4)(ii), Plaintiffs have submitted a declaration along with this
22   Motion to Shorten Time “[d]escribe[ing] the nature of the underlying dispute that would be addressed
23   in the motion and briefly summarize[ing] the position each party had taken.”
24          Plaintiffs seek a preliminary injunction against San Jose’s Ordinance § 10.32.200 et seq.,
25   which mandates that each San Jose gunowner purchase gun liability insurance and pay a fee to a
26   designated nonprofit organization. Declaration of Michael Columbo in Support of Plaintiff’s Motion
27   to Shorten Time (“Columbo Decl.”), ¶ 2. Plaintiffs’ position, in brief, is that the Ordinance violates:
28   (1) the Second Amendment to the U.S. Constitution by burdening ther right to own guns; (2) the First


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     Plaintiff’s Unopposed Motion to Shorten Time                                          5:22-cv-00501-BLF
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1    Amendment to the U.S. Constitution by compelling speech and association through a mandatory
2    donation to a nonprofit organization; (3) Article XXIII of the California Constitution because it
3    imposes taxes that were not approved by voters; and (4) the San Jose City Charter’s reservations of
4    budget and appropriation powers and the requirement that City receipts be deposited into City
5    accounts by forcing San Jose taxpayers to pay a City harm reduction fee to a private, third-party
6    organization. Id. Defendants’ position is that the Ordinance is constitutional and does not violate the
7    U.S. Constitution, California Constitution, or the San Jose City Charter. Id.
8           II.     Efforts Made to Obtain a Stipulation and Meet and Confer Pursuant to L.R. 37-1.
9    Pursuant to Local Rule 6-3(a)(4)(i) and (a)(2), counsel for Plaintiffs reached out to counsel for
10   Defendants on March 10, 2022 seeking a stipulation and to meet and confer. Columbo Decl., ¶ 3. On
11   March 14, 2022, Counsel for Defendants disagreed there was a likelihood of imminent irreparable
12   harm to Plaintiffs absent immediate injunctive relief, so Defendants would not stipulate to this
13   Motion. However, counsel stated that the City has an interest in early resolution of this case and
14   therefore would not oppose this Motion. Id.
15          III.    Reasons for the Shortening of Time and Prejudice that Would Otherwise Occur.
16          Pursuant to Local Rule 6-3(a)(1) and (a)(3), Plaintiffs have submitted a declaration that “[s]ets
17   forth with particularity the reasons for the requested enlargement or shortening of time” and
18   “[i]dentifies the substantial harm or prejudice that would occur if the Court did not change the time.”
19          Plaintiffs request a shortening of the time for the hearing on their Motion because there is a
20   considerable risk that the Ordinance will come into effect before the court reaches a ruling on the
21   Motion. As mentioned above, there are less than three weeks between the July 21, 2022 Motion
22   hearing and the August 8, 2022 effective date of the Ordinance. Accordingly, even if the court rules in
23   Plaintiffs’ favor, they will be prejudiced by the risk that the Ordinance will come into effect before the
24   court’s ruling. Columbo Decl., ¶ 4. Gun owners, including Plaintiff Mark Sikes and other members of
25   Plaintiff National Association for Gun Rights, would then be forced to either expend funds to
26   purchase gun liability insurance and pay fees that violate their rights pursuant to an unlawful
27   ordinance, or break the law and risk confiscation of their guns. Id.
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     Plaintiff’s Unopposed Motion to Shorten Time                                         5:22-cv-00501-BLF
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1           Furthermore, Defendants acknowledge they also stand to benefit from shortening the time for
2    the Motion hearing. Columbo Decl., ¶ 4.
3           IV.     Disclosure of All Previous Time Modificiations and Description of Effect Time
4                   Change Will Have on the Schedule of the case.
5           Pursuant to Local Rule 6-3(a)(5) and (a)(6), Plaintiffs have submitted a declaration
6    “Disclos[ing] . . . all previous time modificiations” and “describ[ing] [what] effect time change will
7    have on the schedule of the case.”
8           First, there has been no previous time modifications—Defendants requested one for their
9    Motion to Dismiss to the initial Complaint, but both the request to shorten time and the Motion to
10   Dismiss was mooted by the amended Complaint. Columbo Decl., ¶ 5.
11          Second, the time change will have no effect on the briefing schedule. Columbo Decl., ¶ 5. It
12   will only move up the hearing to avoid prejudice to plaintiff Mr. Mark Sikes and similarly situated
13   San Jose gunowners. Id.
14                                               CONCLUSION
15          For the foregoing reasons, Plaintiffs respectfully request this Court to shorten the time for the
16   hearing on the Motion for Preliminary Injunction to a date at the Court’s earliest convenience, as it
17   will avoid prejudice to the Plaintiffs and citizens of San Jose while also benefiting the Defendants.
18
19   Dated: March 25, 2022                                   DHILLON LAW GROUP INC.
20
21                                                           By: _/s/ Harmeet K. Dhillon_________
                                                             Harmeet K. Dhillon
22
                                                             Michael A. Columbo
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     Plaintiff’s Unopposed Motion to Shorten Time                                         5:22-cv-00501-BLF
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     Plaintiff’s Unopposed Motion to Shorten Time                                  5:22-cv-00501-BLF
